               Case 5:97-cr-00004-WTM-JEG Document 847 Filed 03/05/08 Page 1 of 1
 AO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                   for the
                                                         Southern District of Georgia                                          5 All I J: l I
                   United States of America                          )                                            ..   .
                                                                     )                                                     L         GA.
                                                                     ) Case No: CR597-00004-006
                           Terry Heidt
                                                                     ) USMNo: 09478-021
Date of Previous Judgment: March 26, 1998                            ) William S. Parks
(lJse Date of Last Amended Judgment if Applicable)                   ) Defendant's Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of Ethe defendant            the Director of the Bureau of Prisons     the court under 18 U.S.C.
§ 3582(c)(2) tbr a reduction in the term of imprisonment  imposed   based on a guideline sentencing  range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,

IT IS ORDER1D that the motion is:
        0DENIED.        GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 1 80     months is reduced to          time served
1. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:     34                                          Amended Offense Level:      32
Criminal History Category: 11                                           Criminal History Category: II
Previous Guideline Range:   168                 to 210 months           Amended Guideline Range 135 to 168 months
11. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
X The reduced sentence is within the amended guideline range.
   The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
   Other (explain)




HI. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated               March 26 1998,        shall remain in effect.
IT IS SO ORDERED.

OrderDate:         March 5, 2008                                       _________________________________________
                                                                                      Judge's signature


                                                                        William T. Moore, Jr.
Effective Date: March 15 L 2008                                         Chief Judge, U.S. District Court
                    (if different from order date)                                        Printed name and tnle
